
PER CURIAM.
On the authority of this court’s decision in Henley v. J.I. Case Co., 510 So.2d 342 (Fla. 3d DCA 1987), we reverse the trial court's order granting summary judgment in favor of Sears, Roebuck &amp; Company. We certify the same question as was certified in Henley to the supreme court as being of great public importance:
DOES THE STATUTE OF REPOSE BAR A WRONGFUL DEATH ACTION *423WHERE THE DEATH OCCURRED MORE THAN TWELVE YEARS AFTER THE ORIGINAL PURCHASE OF THE PRODUCT WHICH ALLEGEDLY CAUSED THE DEATH?
